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              UNITED STATES DISTRICT COURT
     F O R T H E E A S T E R N D I S T R I C T O F P E N N S Y L VA N I A


Sherice Sargent, individually, as next
friend of her minor child, and on behalf
of those similarly situated, Fallon
Girini, individually, as next friend of her
minor child, and on behalf of those
similarly situated, Michele Sheridan,
individually, as next friend of her minor
child, and on behalf of those similarly
situated,

                       Plaintiffs,

v.

The School District of Philadelphia;
William R. Hite, in his official capacity
                                                Case No. 2:22-cv-01509
as Superintendent of the School District
of Philadelphia; Board of Education,
the School District of Philadelphia;
Joyce Wilkerson, Leticia Egea-Hinton,
Julia Danzy, Mallory Fix Lopez,
Maria Mccolgan, Lisa Salley, Reginald
Streater, and Cecelia Thompson, each
in their official capacities as members of
the Board of Education of the School
District of Philadelphia; Sabriya Jubilee,
in her official capacity as director of
diversity, equity, and inclusion for the
School District of Philadelphia; Karyn
Lynch, in her official capacity as chief of
student support services for the School
District of Philadelphia,

                       Defendants.


                                     COMPLAINT
     “‘[D]iscrimination on the basis of race is illegal, immoral, unconstitutional, in-
herently wrong, and destructive of democratic society.’” City of Richmond v. J.A.




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Croson Co., 488 U.S. 469, 521 (1989) (Scalia, J., concurring in the judgment) (quot-
ing Alexander Bickel, The Morality of Consent 133 (1975). “[E]very time the govern-

ment places citizens on racial registers and makes race relevant to the provision of
burdens or benefits, it demeans us all.” Fisher v. Univ. of Tex. at Austin (Fisher I), 570
U.S. 297, 316 (2013) (Thomas, J., concurring) (citation and internal quotation marks
omitted). While discriminatory racial preferences might find favor in modern aca-
demia, they find no comfort in the Constitution. See Parents Involved in Cmty. Sch. v.
Seattle Sch. Dist. No. 1, 551 U.S. 701, 732 (2007) (“Racial balancing is not trans-
formed from ‘patently unconstitutional’ to a compelling state interest simply by rela-
beling it ‘racial diversity.’”).
      But this has not stopped the School District of Philadelphia from adopting a
blatantly unconstitutional race-based system for admission to its criteria-based public
schools. In 2021, in the name of “antiracism” and “equity,” the school district an-
nounced that, starting with the 2022–23 school year, it was changing its selection
process for criteria-based schools from a race-neutral process to a racially discrimina-
tory process. The school district did so despite 62% of the students attending those
schools identifying as black or Latino and no schools having a white majority.
    Before 2021, admissions to these select schools was highly individualized with
the principal of each school having the final say on admission. But the school district
was concerned about the racial distribution this system generated, even though the
schools were already quite diverse with no school having a white majority. The school

district believed some select schools, in particular a science and technology school,
had an underrepresentation of non-black students (in other words “too black”) and
that non-black and non-Latino students were “overrepresented” in other schools (in
other words “not black enough.”) So it overhauled the admissions process to these
schools in a conscious and intentional effort to rebalance the racial makeup of the
student body. It did so by moving from a highly individualized and criteria-based


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process to a gerrymandered lottery system where black and Latino students were
given preferential treatment. While all students participate in the lottery, students who

reside in certain “underrepresented zip codes” are given preference for admission over
students who do not reside in those zip codes.
    The plaintiffs are parents of students who have applied or will apply to the school
district’s criteria-based schools and who have been or will be harmed by the school
district’s discriminatory practices. They seek a preliminary and permanent injunction
to restrain the school district from using a racial discriminatory system for admission
to criteria-based schools.

                 PARTIES, JURISDICTION, AND VENUE
    1.   Plaintiff Sherice Sargent is a resident of the city of Philadelphia and the
mother of an eighth-grade student in the School District of Philadelphia.
    2.   Plaintiff Fallon Girini is a resident of the city of Philadelphia and the mother
of an eighth-grade student in the School District of Philadelphia.
    3.   Plaintiff Michele Sheridan is a is a resident of the city of Philadelphia and the
mother of an eighth-grade student in the School District of Philadelphia.
    4.   Defendant the School District of Philadelphia is a political body organized
under the laws of the Commonwealth of Pennsylvania and the Philadelphia Home
Rule Charter.
    5.   Defendant William R. Hite is the superintendent of the School District of
Philadelphia and is sued in his official capacity.
    6.   Defendant Board of Education of the School District of Philadelphia is a
political body organized under the Philadelphia Home Rule Charter and is responsi-
ble for conducting the affairs of the School District of Philadelphia.
    7.   Defendant Julia Danzy is a member of the Board of Education of the School
District of Philadelphia and is sued in her official capacity.




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    8.   Defendant Leticia Egea-Hinton is a member of the Board of Education of
the School District of Philadelphia and is sued in her official capacity.

    9.   Defendant Mallory Fix Lopez is a member of the Board of Education of the
School District of Philadelphia and is sued in her official capacity.
    10. Defendant Maria McColgan is a member of the Board of Education of the
School District of Philadelphia and is sued in her official capacity.
    11. Defendant Lisa Salley is a member of the Board of Education of the School
District of Philadelphia and is sued in her official capacity.
    12. Defendant Reginald L. Streater is a member of the Board of Education of
the School District of Philadelphia and is sued in his official capacity.
    13. Defendant Cecelia Thompson is a member of the Board of Education of the
School District of Philadelphia and is sued in her official capacity.
    14. Defendant Joyce Wilkerson is a member of the Board of Education of the
School District of Philadelphia and is sued in her official capacity.
    15. Defendant Sabriya Jubilee is the school district’s director of diversity, equity,
and inclusion and is sued in her official capacity.
    16. Defendant Karyn Lynch is the school district’s chief of student support ser-
vices and is sued in her official capacity.
    17. The Court has subject-matter jurisdiction under 28 U.S.C. § 1331 and 28
U.S.C. § 1343.
    18. Venue is proper because a substantial part of the events giving rise to the

claims occurred in this judicial district. See 28 U.S.C. § 1391(b)(2).

                             STATEMENT OF FACTS
    19. The school district maintains a system of public high schools in the city of
Philadelphia.




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    20. There are three types of high schools: (1) neighborhood high schools,1 (2)
citywide admissions high schools, and (3) special-admission or criteria-based high

schools. See School District of Philadelphia, High School Directory Fall
2021 Admissions, at 4 (attached as Exhibit 1).
    21. Neighborhood high schools are open to those to students living within cer-
tain defined geographical neighborhood boundaries. Id.
    22. Citywide admissions high schools accept student from across the city. They
do not have admission criteria. Admission is based on a partial lottery system. Id.
    23. Special-admission high schools traditionally had admission criteria related to
academic performance, standardized test scores, attendance, and behavior. Id.
    24. The school district describes these special-admission schools as those “which
offer a rigorous, enriched curriculum that may concentrate on a particular discipline
or area of study, such as mathematics, natural sciences, engineering, humanities; social
sciences, or fine and performing arts.” https://www.philasd.org/studentplacement/faqs
    25. According to the school district, these special-admission schools are criteria-
based or “magnet” schools and “do not have an attendance boundary either and stu-
dents must apply through the Selection Process.” Id.
    26. Through the 2021–2022 school year, that selection process was objective
and individualized.
    27. The schools had “competitive entrance requirements related to attendance,
punctuality, behavior, grades and standardized test scores. These schools select and

approve those students for admission who best meet its entrance criteria.” Id.
    28. But the school district decided to change these merit-based criteria starting
with the 2022–2023 school year, claiming that it made these changes “in alignment



1. The school district also sometimes refers to neighborhood schools as catchment
   schools.


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with [its] commitment toward antiracism and equity, as outlined in the Board of Ed-
ucation’s Goals and Guardrails.” See School District of Philadelphia, High

School Directory Fall 2022 Admissions, at 4 (attached as Exhibit 2).
    29. The board of education admits that its “Goals and Guardrails” are racially
motivated, race based, and designed to achieve a racial composition at the city’s elite
high schools that mirrors the racial makeup of the overall population in the School
District of Philadelphia:

        [The Goal’s] initiative includes increasing representation of Black and
        Latino students at highly-ranked magnet schools as part of a broader
        effort to “dismantle racist practices.”
Mallory Falk, Philly centralizes admissions process for magnet schools to increase student
diversity, whyy.com, (Oct. 6, 2021), https://whyy.org/articles/philly-centralizes-
admissions-process-for-magnet-schools-to-increase-student-diversity
    30. The school district changed the admission process for its elite, special-
admission high school by moving to a gerrymandered computerized lottery system,
where students residing in overwhelming Black and Latino zip codes receive special
preference for admission. “Zip code preference will be applied at select criteria-based
schools for students who meet the minimum qualifications.” School District of
Philadelphia, High School Directory Fall 2022 Admissions, at 4 (attached as
Exhibit 2). These zip-code preferences were adopted with the intention of altering
the racial composition of the city’s criteria-based schools.
    31. Furthermore, the school district scrapped the requirements that applicants
submit letters of recommendation, undergo interviews, and complete standardized
tests. Id.
    32. The school district has instituted its racially discriminatory selection stand-
ards even though Black and Latino students are already well represented among the
student bodies of the criteria-based schools.




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    33. Defendant Superintendent William Hite has publicly stated said 62% of stu-
dents who qualify for these schools are Black and Latino. Wakisha Bailer, “What Do I

Do?” Families Unhappy with Philadelphia School District’s Lottery Process Ahead of
Deadline,     Philadelphia.cbslocal.com      (Feb.      11,   2022),     available     at:
https://philadelphia.cbslocal.com/2022/02/11/philadelphia-school-lottery-
district-parents-specialty-admission-policy-diversity
    34. According to the school district, many special-admissions or criteria-based
school already maintain a majority-minority enrollment:




See Kristen A. Graham, Philly’s magnet school admissions are being overhauled – in the
name of equity, The Philadelphia Inquirer, (Oct. 6, 2021), available at:
https://www.inquirer.com/news/philadelphia-district-magnet-schools-criteria-
admissions-changes-20211006.html; The School District of Philadelphia, School
Profiles, https://schoolprofiles.philasd.org (last visited April 19, 2022).
    35. No criteria-based school has a white majority. Id.




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      36. Indeed, at least two of the school district’s criteria-based schools have a black
enrollment that exceeds the average black enrollment in the school district as a whole.

Id.
      37. Sherice Sargent is black and the mother of a black female eighth-grade stu-
dent.
      38. Her daughter is enrolled at a science, engineering, and technical school.
      39. She wanted to continue her studies at her current school, which is a criteria-
based high school specializing in science and technology.
      40. In fact, when she was admitted into her current school, a school-district of-
ficial stated that if she maintained an A/B average she would be able to continue her
education at her current school’s high school.
      41. Sargent’s daughter is an A/B student and meets all of the criteria for admis-
sion into her school’s high school.
      42. But contrary to the school-district official’s previous representations, she was
not able to continue at her current school’s high school.
      43. She was unable to continue because of the racially discriminatory selection
standards maintained and used by the school district. Sargent’s daughter was waitlisted
at her current school’s high school (receiving waitlist number 187) and placed in an
agricultural school that specializes in teaching students about farming and how to
become farmers.
      44. Fallon Girini is a mother of an eighth-grade student at Christopher Colum-

bus Charter School.
      45. Girini’s son is white and lives in the 19148 zip code.
      46. The 19148 zip code is not a preferred zip code.
      47. Girini’s son is a straight-A student with an exemplary attendance record.
      48. He applied for admission to the Academy of Palumbo, a criteria-based
school.


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    49. He was wait-listed and given number 185.
    50. Under the previous admissions standards, Girini’s son would have been ad-

mitted to the Academy of Palumbo.
    51. Michele Sheridan is the mother of eighth grade student at Christopher Co-
lumbus Charter School.
    52. Sheridan’s son is non-white (bi-racial).
    53. Sheridan’s son applied for admission to the Academy at Palumbo, a criteria-
based school.
    54. He lives mere feet from the front door of the Academy at Palumbo.
    55. He is an A and B student and meets all the requirements for admission into
the school.
    56. He scored 22.5 out of 25 on the school district’s admission essay.
    57. But because of the racially discriminatory selection standards maintained and
used by the school district, Sheridan’s son was denied admission to the Academy of
Palumbo and is currently wait-listed at number 530.

                       CLASS-ACTION ALLEGATIONS
    58. Sargent, Girini, and Sheridan seek to represent a class of parents and students
under Fed. R. Civ. P. 23(b)(1)(A), (b)(1)(B), (b)(2) and (b)(3). This class includes
all students and parents of students who: (1) applied for admission to a criteria-based
school but were denied admission because of the school district’s racially
discriminatory admissions standards; or (2) will apply for admission to a criteria-based
school in the future but face an increased risk of being denied admission because of
the school district’s racially discriminatory admissions standards. The class includes
everyone who has ever fallen within this definition.
    59. The number of persons in the class makes joinder of the individual class
members impractical.




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    60. There are numerous questions of law and fact common to each member of
the class. These include:

            a. Whether the school district maintains and uses a racially
               discriminatory standards for admission into its criteria-based
               schools;

            b. Whether the class members can recover compensatory damages
               from the school district; and

            c. Whether the school district’s racially discriminatory admissions
               standards violate the United States and Pennsylvania
               Constitutions.
    61. Sargent, Girini, and Sheridan’s claims are typical of other class members.
    62. Sargent, Girini, and Sheridan adequately represent the interests of their
fellow class members, and they have no interests antagonistic to the class.

    63. A class action can be maintained under Rule 23(b)(1)(A) because separate
actions by class members could risk inconsistent adjudications on the underlying legal
issues.
    64. A class action can be maintained under Rule 23(b)(1)(B) because an
adjudication determining the constitutionality of the school district’s racially
discriminatory admissions standards will, as a practical matter, be dispositive of the
interests of all class members.
    65. A class action can be maintained under Rule 23(b)(2) because the party
opposing the class has acted or refused to act on grounds that apply generally to the
class, so that final injunctive relief or corresponding declaratory relief is appropriate
respecting the class as a whole.
    66. A class action can be maintained under Rule 23(b)(3) because the common
questions of law and fact identified in the complaint predominate over any questions
affecting only individual class members. A class action is superior to other available
methods for the fair and efficient adjudication of the controversy because, among



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other things, all class members are subjected to the same violation of their
constitutional rights, but the amount of money involved in each individual’s claim

would make it burdensome for class members to maintain separate actions.

                              CAUSES OF ACTION
                       Claim 1: Violation Of Title VI
    67. Title VI of the Civil Rights Act of 1964 prohibits racial discrimination in any
“program or activity” that receives federal funds. See 42 U.S.C. § 2000d (“No person

in the United States shall, on the ground of race, color, or national origin, be excluded
from participation in, be denied the benefits of, or be subjected to discrimination
under any program or activity receiving Federal financial assistance.”).
    68. The school district is an entity receiving federal financial assistance.
    69. The defendants are violating Title VI by discriminating against non-black
and non-Latino students by establishing, maintaining, and using racially discrimina-
tory standards for placement in the school district’s criteria-based schools.
    70. The plaintiffs assert this claim under 42 U.S.C. § 1983 and the implied right
of action established by Title VI.
        Claim 2: Violation Of The Equal-Protection Clause
    71. The Equal Protection Clause prohibits racial discrimination by state or local
government entities. See Johnson v. California, 543 U.S. 499, 510–11 (2005); Shaw
v. Hunt, 517 U.S. 899 (1996) (“Racial classifications are antithetical to the
Fourteenth Amendment, whose central purpose was to eliminate racial discrimination
emanating from official sources in the States.”); Palmore v. Sidoti, 466 U.S. 429, 432
(1984) (“A core purpose of the Fourteenth Amendment was to do away with all
governmentally imposed discrimination based on race.”).
    72. The defendants are violating the Equal Protection Clause by applying
different admission standards for plaintiffs’ children based on their race.




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    73. The plaintiffs assert this claim against the defendants under 42 U.S.C.
§ 1983.

               Claim 3: Violation of Pa. Const. Art. I, §§ 26, 29
    74. Article I, § 26 of the Pennsylvania Constitution prohibits any political sub-
division from deny any person a civil right. (“Neither the Commonwealth nor any
political subdivision thereof shall deny to any person the enjoyment of any civil right,
nor discriminate against any person in the exercise of any civil right.”)
    75. Article I, § 29 of the Pennsylvania Constitution prohibits the abridgement
of any right because of a person’s race or ethnicity. (“Equality of rights under the law
shall not be denied or abridged in the Commonwealth of Pennsylvania because of the
race or ethnicity of the individual.”)
    76. The defendants are violating the Pennsylvania Constitution by establishing,
maintaining, and using a system of selection to the school district’s criteria-based
schools that discriminates on the basis of their race.

                               DEMAND FOR RELIEF
    77. The plaintiffs respectfully request that the court:

          a.     certify the class described in paragraph 58;

          b.     declare that the defendants are violating 42 U.S.C. § 1983, Title VI,
                 the Equal Protection Clause, and article I, §§ 26 and 29 of the Penn-
                 sylvania Constitution by establishing, maintaining, and using racially
                 discriminatory standards for selection and admission to the school dis-
                 trict’s criteria-based schools;

          c.     enter a preliminary and permanent injunction that restrains the defend-
                 ants from denying admission to the school district’s criteria-based
                 schools on the basis of race or on the basis of residence in zip codes that
                 were selected because of their racial composition;




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       d.   enter a preliminary and permanent injunction that restrains the defend-
            ants from maintaining a system that gives preference to students for
            admission into the school district’s criteria-based schools on the basis
            of their race or on the basis of their residence in zip codes that were
            selected because of their racial composition;

       e.   permanently enjoin the defendants from establishing, using, or main-
            taining racially discriminatory criteria for admission to the school dis-
            trict criteria-based schools;

       f.   award the plaintiffs and the class members nominal, compensatory, and
            punitive damages;

       g.   award costs and attorneys’ fees under 42 U.S.C. § 1988; and

       h.   award all other relief that the Court deems just, proper, or equitable.


                                           Respectfully submitted.

                                            /s/ Walter S. Zimolong
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Dated: April 19, 2022                      and the Proposed Classes




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